8:10-cr-00158-LSC-SMB   Doc # 605   Filed: 12/18/12    Page 1 of 1 - Page ID # 1745



            IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                  8:10CR158
                              )
          v.                  )
                              )
THOMAS DASHER,                )                       ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on plaintiff’s motion

to seal (Filing No. 603).      The Court finds the motion should be

granted.   Accordingly,

           IT IS ORDERED that plaintiff’s motion to seal is

granted.   Its motion regarding the above-captioned defendant

shall remain sealed pending further order of the Court.

           DATED this 18th day of December, 2012.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _____________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court
